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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-----------------------------------------------------------------X
                  DISABILITY RIGHTS NEW YORK,

                                             Plaintiff,              7:16-cv-03396-KMK


                                 -against-

                 FERNCLIFF MANOR FOR
                 THE RETARDED, INC. 0/B/A S.A.I.L
                 AT FERNCLIFF MANOR, and
                 WILLIAM J. SAICH, in his official
                 capacity as Executive Director of
                 FERNCLIFF MANOR FOR
                 THE RETARDED, INC. 0/B/A
                 S.A.I.L. AT FERNCLIFF MANOR,


                                             Defendants.

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                                             CONSENT ORDER

        WHEREAS, Plaintiff, Disability Rights New York ("DRNY"), filed a complaint

in this action on May 9, 2016, alleging the Defendants, FemcliffManor for the Retarded,

Inc. d/b/a S.A.I.L. at Femcliff Manor and William J. Saich, in his official capacity as

Executive Director of Femcliff Manor for the Retarded, Inc. d/b/a S.A.I.L. at Femcliff

Manor, violated the Developmental Disabilities Assistance and Bill of Rights Act of2000

("DO Act"), 42 U .S.C. § 15041 et seq.; the Protection and Advocacy for Individuals with

Mental Illness Act of 1986 ("PAlMI Act"), 42 U .S.C. § 10801 et seq.; and the Protection

and Advocacy of Individual Rights Act ("PAIR Act"), 29 U.S.C. § 794e, with regard to

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Plaintiffs requests for records and facility access to the FemcliffManor for the Retarded,

Inc. d/b/a S.A.I.L. at Femcliff Manor residential and educational facilities ("Femcliff')

and retaliated against Plaintiffs in violation of 42 U.S.C. § 12101 et seq.; and 29 U.S.C. §

794; 28 C.F.R. § 35.103; 34 C.F.R. § 104.33; and

        WHEREAS, on June 8, 2016, Defendants served and filed their Answer to the

Complaint, denying the substantive allegations of the Complaint and asserting various

affirmative defenses; and

       WHEREAS, Plaintiff thereafter notified Defendants and the Court that it

intended to move for a Preliminary Injunction; and

       WHEREAS, the parties wish to resolve the proposed motion for Preliminary

Injunction without Defendants admitting any wrongdoing or violation of law; and

       WHEREAS, nothing in this Consent Order is an admission of any fact or law by

any party except for the purpose of enforcing the terms or conditions set forth herein;

        The Parties Stipulate and It is Ordered:

    1. Femcliff will permit DRNY to exercise its rights and safety monitoring function

       in accordance with the DD Act, the PAlMI Act and the PAIR Act (and their

       implementing regulations).

               a. Femcliffwill provide DRNY with:

                       i. Reasonable unaccompanied access to all areas of Femcliffs

                            facilities that are used by, or accessible to, its residents and

                            students;

                      11.   Reasonable unaccompanied access to Femcliffs programs;




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              iii. Reasonable unaccompanied access to Ferncliff' s residents and

                    students; and

              iv. The ability to post, in an area where individuals with

                    disabilities receive services, a poster that states the protection

                    and advocacy services available from DRNY (including the

                    name, address and telephone number of DRNY).

 2. Ferncliff will permit DRNY to exercise its abuse or neglect investigation

    function in accordance with the DD Act, the PAlMI Act and the PAIR Act

    (and their implementing regulations).

       a. Ferncliff will provide DRNY with the contact information of

           residents' or students' legal guardians or legal representatives;

       b. Ferncliff will provide DRNY with the contact information of residents

           or students at Ferncliff' s facilities who are over the age of eighteen and

           who have capacity to consent to release of their records.

       c. Ferncliffwill provide DRNY with access to:

               1.   Investigative reports, statements of deficiencies, monitoring

                    reviews and other reports in draft and final form issued or

                    prepared by federal, state or local governmental agencies

                    (including the New York State Justice Center for the Protection

                    of People with Special Needs, the Office for People with

                    Developmental Disabilities, and the New York State Education

                    Department), which have not previously been provided to

                    DRNY by Ferncliff or any other source;



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             ii. Documents concerning any corrective action in draft or final

                 form prepared and transmitted by Ferncliff to such agencies in

                 response to the documents described in Paragraph 2(c)(i)

                 above.

             iii. Upon request by DRNY, access to the following client records:

                     I. Client records for which a release from the individual,

                          or the individual's guardian, conservator or other legal

                          representative is proffered; or

                    2. Client records of an individual if a complaint is

                          received by DRNY about the individual alleging abuse

                          or neglect and a release is not required pursuant to 42

                          U.S.C.     §     15043(a)(2)(I)(ii);   42     U.S.C.   §

                          15043(a)(2)(J)(ii)(II); 42 U.S.C. § 10805(a)(4)(B); and

                          29 U.S.C. § 794e(t)(2).; or,

                    3. Client records if, as a result of monitoring or other

                          activities, DRNY has probable cause to believe that an

                          individual has been abused or neglected and a release is

                          not required pursuant to 42 U.S.C. § 15043(a)(2)(1)(ii);

                          42   U.S.C.    § 15043(a)(2)(J)(ii)(II); 42 U.S.C.     §

                          10805(a)(4)(B); and 29 U.S.C. § 794e(f)(2).

            iv. Access to Ferncliff policies and data pursuant to 42 U.S.C. §

                 15043(a)(2)(J)(i); 42 U.S.C. § 15043(c)(l); 42 U.S.C. §




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                 10806(a)-(b); 29 U.S.C. § 794e(t)(2); 42 C.F.R § 51.41 (c)-

                 (d); and 45 C.F.R. § 1326.25(b) regarding:

                           a. The development of behavior plans;

                           b. Behavior management;

                           c. Staff behavior management training;

                           d. Code blue procedures and staffing in both the

                                school and residential settings.

                           e. Names and position of residential and school

                                staff to the extent such information is relevant

                                to conducting an investigation of one or more

                                incidents of abuse or neglect;

                           f.   The     number     of    hospitalizations   after

                                01101120 16;

                           g. The number of 14 NYCRR Part 624 -

                                Reportable Incidents and Notable Occurrences

                                reports filed after 01/01/2016;

                           h. Personnel Records of staff terminated by

                                Ferncliffafter 09/01/2013.

             v. Upon request by DRNY, other records necessary to investigate

                incidents of abuse and neglect if the incidents are reported to

                the system or if there is probable cause to believe that the

                incidents occurred, which DRNY is entitled to receive pursuant

                to the DD Act, PAIMI Act and PAIR Act.



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  3. All records received by DRNY pursuant to this Order, including information

     contained therein, shall be held in confidence in accordance with 45 C.F.R. §

     1326.21 (i) and 45 C.F.R. § 1326.28(b).

 4. Defendants agree to provide access to all records requested pursuant to the

     timelines set forth in 42 U.S.C. § 15043(a)(2)(J), 45 C.F.R. § 1326.25(c)(l)

     and 45 C.F.R. § 1326.25(c)(2), unless the parties mutually agree to another

     timeline.

 5. For the purposes of this Order only, "access" shall mean make available for

     inspection and copying and/or scanning at DRNY's sole expense. The parties

     anticipate that DRNY will provide and use its own copying and/or scanning

     equipment and will not require Femcliffstaffto copy or scan any records.

 6. DRNY will conduct all monitoring and investigation activities so as to

     minimize interference with Femcliffs programs and the responsibilities of its

     staff.

 7. If Defendants believe that the manner in which DRNY conducts activities

    described in Paragraphs One and Two is unreasonable, Defendants will notify

    Plaintiff in writing. Within five business days of such notice (or a longer time

     if the parties mutually agree), the parties shall meet and confer to resolve the

    dispute.

 8. If the parties are unable to resolve any dispute regarding the reasonableness of

    Plaintiff's activities after meeting and conferring as required by Paragraph

    Seven, either party may petition the Court for appropriate relief.




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  9. DRNY may report allegations of abuse or neglect, and its investigation or

     monitoring findings, to state or federal agencies at any time.

  I 0. Before finalizing findings of an investigation of alleged abuse or neglect in

     Ferncliff's programs or facilities, Plaintiff will offer to meet and confer with

     Defendants regarding the draft findings. Plaintiff will consider in good faith

     the information presented by the Defendants. In these discussions, Plaintiff

     will not reveal information, such as the identity of persons alleging abuse or

     neglect, which Plaintiff must keep confidential pursuant to law.

  11. In the event that Plaintiff intends to release a public investigation report,

     Plaintiff will provide Defendants with a draft of the report not less than one

     month prior to the public release date, and will consider in good faith the

     Defendants' written response to the draft report if received in writing no later

     than five work days prior to the public release date, and if DRNY deems it

     appropriate it will modify the report. At Defendants' request, Plaintiff will

     include Defendant's written response to the investigation report if and when

     the report is made public.

  12. At Defendants' request, Plaintiff will post on its website Defendants' written

     response to Plaintiff's Preliminary Report published on or about June 23,

     2015, and will link Defendants' response to the Preliminary Report in a

     manner that will enable readers of the Preliminary Report to readily access

     Defendants' response.

  13. This Consent Order shall be binding upon the parties to this action, their

     officers, agents, servants, employees, and attorneys, and upon those persons in



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                   active concert or participation with them who receive actual notice of this

                   Order.

              14. This Court will retain jurisdiction over enforcement of this Consent.




Dated July 29, 2016                           Is/ Cliff Zucker

                                           DISABILITY RIGHTS NEW YORK
                                           Attorneys for Plaintiff
                                           CLIFF ZUCKER
                                           ANAST ASIA HOLOBOFF
                                           JONATHAN GARVIN
                                           JENNIFER MONTHIE
                                           25 Chapel Street, Suite 1005
                                           Brooklyn, New York 1120 I
                                           (518) 432-7861 (telephone)
                                           (518) 427-6561 (fax) (not for service)



Dated July 29,2016                           Is/ Benjamin Zelermyer
                                           BENJAMIN ZELERMYER
                                           Attorney for Defendants

                                           Steinberg & Cavaliere, LLP
                                           50 Main Street, 9th Floor
                                           White Plains, NY I 0606
                                           Telephone: (914) 761-4200
                                           Fax: (914) 761-4256
                                           bzlaw@optonline.net

      So Ordered




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